      Case 3:17-cv-00939-WHA Document 843-1 Filed 07/07/17 Page 1 of 3



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13

14                                     UNITED STATES DISTRICT COURT

15                                    NORTHERN DISTRICT OF CALIFORNIA

16                                        SAN FRANCISCO DIVISION

17   Waymo LLC,                                       Case No. 3:17-cv-00939-WHA

18                       Plaintiff,                   DECLARATION OF RACHEL M. WALSH
                                                      IN SUPPORT OF DEFENDANT OTTO
19           v.                                       TRUCKING LLC’S ADMINISTRATIVE
                                                      MOTION TO FILE UNDER SEAL
20   Uber Technologies, Inc., et al.,                 PORTIONS OF ITS MOTION TO
                                                      ENFORCE THE COURT’S JUNE 7, 2017
21                       Defendants.                  ORDER (DKT. 563) AND TO JOIN AND
                                                      ADOPT CO-DEFENDANTS UBER
22                                                    TECHNOLOGIES, INC. AND
                                                      OTTOMOTTO LLC’S MOTION TO
23                                                    ENFORCE THE COURT’S JUNE 7, 2017
                                                      ORDER (DKT. 563)
24
                                                      Date:         August 17, 2017
25                                                    Time:         8:00 a.m.
                                                      Courtroom:    8, 19th Floor
26                                                    Judge:        Honorable William Alsup
                                                      Trial Date:   October 10, 2017
27

28
     ACTIVE/91817041.2
            DECLARATION ISO OTTO TRUCKING’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                                      CASE NO. 3:17-CV-00939
       Case 3:17-cv-00939-WHA Document 843-1 Filed 07/07/17 Page 2 of 3



 1           I, Rachel M. Walsh, declare as follows:

 2           1.          I am counsel at the law firm of Goodwin Procter LLP, counsel of record for

 3   Defendant Otto Trucking LLC (“Otto Trucking”). I make this declaration based upon matters

 4   within my own personal knowledge and if called as a witness, I could and would competently

 5   testify to the matters set forth herein. I make this declaration in support of Defendant Otto

 6   Trucking’s Administrative Motion to File Under Seal Portions of its Motion to Enforce the

 7   Court’s June 7, 2017 Order (Dkt. 563) and to Join and Adopt Co-Defendants Uber Technologies,

 8   Inc. and Ottomotto LLC’s Motion to Enforce the Court’s June 7, 2017 Order (Dkt. 563).

 9           2.          I have reviewed the following documents and confirmed that only the portions

10   identified below merit sealing:

11
                                  Document                        Portions to Be Filed Under Seal
12
                  Exhibits 2 and 3 to the Declaration          Highlighted Portions
13                of Rachel M. Walsh

14           3.          Otto Trucking seeks to seal the highlighted portions of Exhibit 2 because Plaintiff
15   Waymo LLC (“Waymo”) has designated the information “Highly Confidential – Attorneys’ Eyes
16   Only.” Otto Trucking does not oppose the merits of sealing the material designated by Waymo,
17   and anticipates that Waymo will file declarations in accordance with Local Rule 79-5.
18           4.          The highlighted portions of Exhibit 3 contain highly confidential, sensitive business
19   information of Otto Trucking relating to terms of Otto Trucking’s agreements, corporate structure,
20   and financial information. This highly confidential information is not publicly known, and its
21   confidentiality is strictly maintained. I understand that if this information were made public, Otto
22   Trucking’s competitors and counterparties would have insight into how Otto Trucking structures
23   its business agreements, allowing them to modify their own business strategy. Otto Trucking’s
24   competitive standing could be significantly harmed.
25           5.          Otto Trucking’s request to seal is narrowly tailored to those portions of the
26   motion’s supporting documents that merit sealing.
27

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     ACTIVE/91817041.2                                     1
            DECLARATION ISO OTTO TRUCKING’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                                      CASE NO. 3:17-CV-00939
      Case 3:17-cv-00939-WHA Document 843-1 Filed 07/07/17 Page 3 of 3



 1           I declare under penalty of perjury under the laws of the United States that the foregoing is

 2   true and correct. Executed this 7th day of July, 2017 in San Francisco, California.

 3
                                                          /s/ Rachel M. Walsh
 4                                                            Rachel M. Walsh
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            DECLARATION ISO OTTO TRUCKING’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                                      CASE NO. 3:17-CV-00939
